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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND


THE DISTRICT OF COLUMBIA, et al.,

                    Plaintiffs,

             v.                             No. 8:17-cv-1596-PJM

DONALD J. TRUMP, in his official capacity
as President of the United States,

                    Defendant.



         DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS
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                                        INTRODUCTION
       The President’s Motion to Dismiss (“Mot.”) (ECF No. 21) established that the Complaint

should be dismissed for four essential reasons. First, Plaintiffs lack standing to bring this

lawsuit. Despite asserting injuries to a wide-range of sovereign, quasi-sovereign, and proprietary

interests, Plaintiffs have not shown that their alleged injuries are judicially cognizable, concrete,

or certainly impending. Second, Plaintiffs do not have a cause of action under the Emoluments

Clauses, and this is not a proper case for inferring a cause of action in equity. Third, Plaintiffs’

interpretation of the Clauses is overbroad and unmoored from the text of the Constitution,

history, and actual practice. Plaintiffs accordingly have failed to state a claim upon which relief
can be granted. Finally, this Court is without jurisdiction to issue the requested injunctive relief

against a sitting President in the circumstances presented by this case. Plaintiffs’ Opposition

(“Opp’n”) (ECF No. 46) does not meaningfully rebut any of these arguments.

       First, Plaintiffs’ continued insistence on vindicating abstract notions of state sovereignty

fails because the alleged injury to a State’s political power is not judicially cognizable. Plaintiffs

are also unable to overcome the bar against parens patriae suits by States against the Federal

Government. In addition, Plaintiffs’ competition-based standing theories also fail because,

among other reasons, the relevant market is too diffuse to permit an inference of certainly

impending injury to any particular business based on the law of economics.

       Second, Plaintiffs offer no persuasive response to the President’s showing that they lack a

cause of action under the Emoluments Clauses, and numerous factors counsel against inferring a

cause of action in equity. Most notably, Plaintiffs’ asserted injuries are outside the zone of

interests of the Clauses, and their suggestion that the zone-of-interests test no longer applies to

constitutional claims is wrong.

       Third, Plaintiffs have not stated a claim that the President violates the Emoluments

Clauses whenever a business in which he owns an interest engages in a transaction with a foreign

or domestic government. As shown in the President’s Motion, the term “Emolument” in the

Emoluments Clauses refers to profits arising from office or employ, and the prohibited benefits
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must be tendered in exchange for the President’s service. Plaintiffs’ primary rebuttal is to cite a

number of founding-era dictionaries that contain a broad definition of emolument—as including

any profit, gain, or advantage—and a number of where the term was used in accordance with

that definition. But even Plaintiffs do not contend that theirs was the only definition in use at the

time of the founding; indeed, the very dictionaries Plaintiffs cite contain other definitions and

confirm the etymological roots of the President’s analysis. The President’s interpretation is

further supported by the context of the Constitution’s three uses of the term “Emolument”—each

of which is tied to the holding of a federal office—as well as evidence of historical practices and
the absurd results that flow from Plaintiffs’ interpretation. And despite Plaintiffs’ arguments to

the contrary, the President’s interpretation of the Clauses also serves their purposes.

       Finally, Plaintiffs suggest that the President has misinterpreted Mississippi v. Johnson, 71

U.S. 475, 501 (1867), to bar injunctions against the President. But that is wrong, as is shown by

Supreme Court and other decisions interpreting Johnson. And, contrary to Plaintiffs’ arguments,

this case does not concern a ministerial duty: the wide-ranging injunction Plaintiffs seek would

require the exercise of significant planning and judgment and would impose substantial burdens

on the President.

                                           ARGUMENT

I.     THIS COURT LACKS JURISDICTION OVER PLAINTIFFS’ CLAIMS.

       A.      Plaintiffs Have Not Alleged Cognizable Injuries to Their Sovereign, Quasi-
               Sovereign, or Proprietary Interests.

               1.      Sovereign interests
       As the President’s Motion demonstrated, Maryland has not alleged facts sufficient to

support standing based on alleged injuries to its sovereign interests. 1 Mot. at 10–12. First,

Maryland’s alleged loss of political power in joining the Union is an abstract injury to its

sovereignty that is not judicially cognizable, despite Maryland’s attempt to dress it up in the form


1
  Although D.C. alleges similar injuries to its “sovereign” interests as Maryland, see Opp’n at 9,
it concedes that it is “not a sovereign” and “cannot assert sovereign interests,” see id. at 6 n.1.

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of detrimental reliance in joining the Union. And no historical evidence supports Plaintiffs’

assertion that the Emoluments Clauses were “material inducements to [Maryland’s] entering the

union.” Compl. ¶ 106.

       In response, Maryland insists that it can enforce the Emoluments Clauses because

Maryland “surrendered certain sovereign prerogatives when [it] entered the Union,” Opp’n at 9

(citation omitted), and those Clauses were designed to protect Maryland’s “rightful status within

the federal system,” id. at 11. But there is no legal support for the proposition that a State can

press its abstract views about the meaning of a constitutional provision against the Federal
Government by alleging detrimental reliance in joining the Union or any other abstract theories

of sovereignty. States have no special right to serve as “roving constitutional watchdog[s],”

litigating any issue, “no matter how generalized or quintessentially political.” Virginia ex rel.

Cuccinelli v. Sebelius, 656 F.3d 253, 267–68, 272 (4th Cir. 2011); see also Mot. at 22 n.11. Like

other plaintiffs, States must follow “settled jurisdictional constraints,” Virginia, 656 F.3d at 272,

and Maryland’s asserted injury is well outside the traditional bounds of the Article III standing

doctrine, see Mot. at 10–11.

       In any event, Maryland does not dispute the lack of historical factual basis for its

“material inducement” assertion, arguing that “a ‘causal connection’ . . . between the provision’s

inclusion in the Constitution and the Constitution’s ratification” is unnecessary. Opp’n at 14.

But it is Maryland that seeks to establish its standing by relying on the allegation that it would

not have joined the Union but for the inducement of the Emoluments Clauses. See Compl.

¶ 106. Without a causal connection, a theory of standing premised on such a connection fails.

       Second, Maryland’s alleged impairment of tax revenues continues to be far too general to

confer standing. See Mot. 12–16. Maryland contends that it will lose specific tax revenues

because hotels, restaurants, and event venues in Maryland will likely lose business to the Trump

International Hotel, thus reducing the State’s revenues from certain taxes levied on these

businesses. But Wyoming v. Oklahoma, 502 U.S. 437 (1992), on which Plaintiffs rely, only

underscores the inadequacy of Maryland’s allegations. Wyoming involved “[u]nrebutted

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evidence” of an Oklahoma statute directly impairing Wyoming’s ability to collect severance tax

revenues from specific Wyoming companies affected by the statute. Id. at 445; see id. 447 (“It is

undisputed that since . . . the effective date of the Act, purchases by Oklahoma electric utilities of

Wyoming-mined coal, as a percentage of their total coal purchases, have declined.”); id. at 448

(distinguishing cases involving federal actions that had injured a state’s economy and “thereby

caused a decline in general tax revenues”). In contrast, there is no such evidence of direct impact

on Maryland’s tax revenues here, only Maryland’s speculation regarding future possible injury.

Such an “anticipated result is purely speculative, and, at most, only remote and indirect.”
Florida v. Mellon, 273 U.S. 12, 18 (1927) (State had no standing to challenge federal inheritance

tax on the basis that the tax would induce taxpayers to withdraw property from the State, thus

diminishing the State’s tax revenue).

        In fact, Maryland cannot show that any injury is likely to result at all. Although it points

to an alleged “uptick in business” at the Trump International Hotel as evidence of its injury,

Opp’n at 18, there is no showing of any corresponding losses actually suffered by Maryland, let

alone losses attributable to the Trump International Hotel. Restaurant and hotel competition is

not a zero-sum game (i.e., each market participant’s gain or loss is exactly balanced by the losses

or gains of the other participants), and there is no basis to conclude that Maryland will

necessarily lose tax revenues as a result of the President’s alleged receipt of prohibited

emoluments—as opposed to any number of other economic factors unrelated to any patronage of

the President’s hotel by government officials. That fact necessarily distinguishes this case from

Wyoming. And as the President has also shown, see Mot. at 15–16, under Fourth Circuit

precedent, Plaintiffs cannot show that their injury is redressable by the Court. Even if Maryland

were to prevail on the merits of its claim, it is pure speculation to assert that third-party

government consumers would stop patronizing the Hotel and take their business to

establishments in Maryland. Maryland has no answer to these fatal defects in its theory, beyond

relying on the competitor standing doctrine, which is inapplicable here, as discussed below.



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       Third, Plaintiffs’ “intolerable dilemma” theory of injury fails. This theory is that

Maryland and D.C. face the dilemma of either granting the President’s hypothetical requests for

concessions and exemptions from their laws or being placed at a disadvantage vis-à-vis other

States that agree to such concessions. Such a claim of injury is speculative—it is predicated on

not only the existence of possible future requests for such concessions but also a farfetched

conspiracy among federal officials to withhold federal funds from Plaintiffs. See Mot. at 16–17.

       In response, Plaintiffs concede that they are not claiming any injury based on the “cost of

granting waivers or exemptions” or alleging “that they will necessarily be retaliated against in
some way.” Opp’n at 11. Instead, they recast their claim as an injury to a purported interest in

“avoiding entirely any pressure to compete with others for the President’s favor by giving him

money or other valuable dispensations.” Id. But this asserted injury is at most an “abstract[]”

“threat to federalism,” which is insufficient to support a State’s standing, Texas v. United States,

523 U.S. 296, 302 (1998); see also Mot. at 10, just as abstract concerns do not support standing

in other contexts, see, e.g., Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26, 40 (1976).

       Plaintiffs rely primarily on Georgia v. Pennsylvania Railroad Co., 324 U.S. 439 (1945),

for the proposition that there is a judicially cognizable interest in maintaining the “constitutional

equality of the States.” Opp’n at 8 (citation omitted). But that case does not support such a

proposition. Instead, it is a classic antitrust case brought by Georgia against railroad companies

that allegedly conspired to fix rates for transportation of freight by railroad “to and from Georgia

so as to prefer the ports of other States over the ports of Georgia.” Georgia, 324 U.S. at 443.

The Court found parens patriae standing because the complaint alleged that “the economy of

Georgia and the welfare of her citizens have seriously suffered as the result of this alleged

conspiracy.” Id. at 450–51. The Court reasoned that “Georgia’s interest is not remote; it is

immediate” because “discriminatory rates fastened on a region have a . . . permanent and

insidious quality,” limiting “the opportunities of her people” and “relegat[ing] her to an inferior

economic position among her sister States,” among other things. Id. at 451. In holding that a



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State has a quasi-sovereign interest in preventing the evils of a price-fixing conspiracy, Georgia

in no way suggests that Maryland has a judicially cognizable injury here.

       In an effort to bolster their “intolerable dilemma” theory of injury, Plaintiffs attempt to

introduce two new facts not alleged in the Complaint. See Opp’n at 12–13. That attempt is

unavailing. As an initial matter, “it is axiomatic that the complaint may not be amended by the

briefs in opposition to a motion to dismiss.” Olekanma v. Wolfe, Civil Action No. DKC 15-

0984, 2016 WL 430178, at *4 (D. Md. Feb. 4, 2016) (citation omitted). And in any event, even

if the Court were to consider them, these new factual allegations do not support Plaintiffs’
standing claims. First, Plaintiffs allege that the Trump Organization plans to open a chain of

hotels and that the Organization “would like [the hotels] to be in all of the nation’s 26 major

metropolitan areas,” including D.C. and Baltimore. Opp’n at 13. 2 If such a hotel were to open

in their jurisdictions, Plaintiffs suggest, they would likely receive exemption requests and be

pressured to grant them. This type of speculation is far from sufficient to establish standing.

Moreover, “[a] claim is not ripe for adjudication if it rests upon contingent future events that may

not occur as anticipated, or indeed may not occur at all.” Texas v. United States, 523 U.S. at 300.

       Second, Plaintiffs cite a lawsuit filed by the Trump International Hotel challenging a D.C.

property tax assessment. Opp’n at 12. The notion that the D.C. courts would be pressured to

rule in favor of the Hotel because of the President’s ownership interest in the Hotel is highly

speculative. And if the D.C. courts rule in the Hotel’s favor pursuant to D.C. law, there could be

no plausible claim of injury. See Mot. at 18. In any event, this D.C. tax dispute provides no

support for Maryland’s “intolerable dilemma” claim, given that the Complaint fails to allege that

any business affiliated with the President is currently operating in Maryland.



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  The article Plaintiffs’ cite merely quotes the Hotel’s CEO as saying that he does not “see any
reason that we couldn’t be in all of [these markets] eventually.” Hui-yong Yu & Caleb Melby,
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               2.      Quasi-sovereign interests

       The President’s Motion established that Plaintiffs have no standing to maintain a parens

patriae suit against the Federal Government for alleged economic injury to their citizens because

the Supreme Court has long held that “‘it is no part of [a State’s] duty or power’” to do so. Mot.

at 19 (quoting Massachusetts v. Mellon, 262 U.S. 447, 485–86 (1923)). Moreover, Plaintiffs’

claims concern the commercial activities of only one hotel, one restaurant, and one bar, which do

not plausibly meet the requisite showing for parens patriae standing that an injury be suffered by

“a sufficiently substantial segment of [a State’s] population.” Id. at 21 (quoting Alfred L. Snapp
& Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S. 592, 607 (1982)).

       Plaintiffs maintain that they nevertheless may pursue a parens patriae suit against the

Federal Government because they are not seeking to challenge any federal statute or sovereign

prerogative but only the President’s private conduct. Opp’n at 27. But a suit against a federal

official in his official capacity is a suit against the United States itself. See Mot. at 20. And

Plaintiffs’ suit seeks to vindicate injuries to their citizens allegedly caused by the President’s

purported violations of the Constitution as President, making it quintessentially a (prohibited)

parens patriae suit. See Hodges v. Abraham, 300 F.3d 432, 436–37, 444 (4th Cir. 2002)

(holding, in a challenge to federal agency action allegedly in violation of federal law, that a State

could not maintain suit as parens patriae); see also Mot. at 19–20 (citing cases).

       Plaintiffs also insist that a State may maintain a parens patriae suit by “asserting its

rights under federal law.” Opp’n at 27 (quoting Massachusetts v. EPA, 549 U.S. 497, 520 n.1

(2000)). But as the President’s opening brief explained, a State may only assert such rights when

Congress has expressly granted a procedural right to the States to protect against concrete

injuries to their interests from federal action, as in Massachusetts v. EPA. Mot. at 20. Here, no

similar congressional authorization to sue—which the Supreme Court has held “is of critical

importance to the standing inquiry,” Massachusetts, 549 U.S. at 516—exists. Thus, Plaintiffs

have no standing to assert any purported injury on this basis.



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       Plaintiffs also attempt to refute the inescapable conclusion that any alleged injury affects,

at most, only an “identifiable group of individual residents,” Snapp, 458 U.S. at 607, and is thus

insufficient to establish parens patriae standing. Plaintiffs argue that in Snapp and

Massachusetts v. Bull HN Information Systems, Inc., 16 F. Supp. 2d 90, 100–01 (D. Mass. 1998),

only 787 and 50 people, respectively, were affected. But both cases turned on the fact that the

States were seeking to redress invidious discrimination, which had a widespread impact and

which the States have a unique governmental interest in stopping. See Snapp, 458 U.S. at 609

(rejecting reliance on the “possibly limited effect of the alleged financial loss at issue here” as
“too narrow a view of the interests at stake” and recognizing a “state interest in securing

residents from the harmful effects of discrimination,” which “carr[ies] a universal sting”); Bull,

16 F. Supp. 2d at 100–01 (declining to decide whether impact on 50 individuals was sufficiently

substantial and finding standing on the basis that the alleged discriminatory conduct “stings all

older workers in the same way that all Puerto Ricans were stigmatized in Snapp”). Here, by

contrast, Plaintiffs’ theory of injury is premised on discrete (if speculative) financial injuries

allegedly stemming from the operation of a single hotel.

               3.      Proprietary interests

       The President’s Motion further established that Plaintiffs’ claimed harm to their

proprietary interests fails to satisfy all three prongs of the standing requirement. Mot. at 22–26.

Plaintiffs do not allege that any of their own establishments has actually lost business to the

Trump International Hotel or that they will suffer “certainly impending” loss. Clapper v.

Amnesty Int’l USA, 568 U.S. 398, 409 (2013). And any alleged injuries necessarily will depend

on the actions of third parties not before the Court—a factor that in itself precludes findings of

traceability and redressability. See Mot. at 15–16, 26.

       Plaintiffs contend that an allegation of injury suffices to establish standing if there is a

“substantial risk” that the harm will occur. See Opp’n at 20. But the Complaint does not meet

even that standard given the speculative nature of Plaintiffs’ claimed injury. Moreover, that

standard, imported from Susan B. Anthony List v. Driehaus, 134 S. Ct. 2334, 2341 (2014),

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generally only applies to pre-enforcement challenges where a plaintiff’s injury stems from a

threatened prosecution. See Hedges v. Obama, 724 F.3d 170, 196–97, 199–200 (2d Cir. 2013)

(in pre-enforcement challenges, the courts will “presume that the government will enforce the

law”). Outside of that context, the Fourth Circuit has also addressed this standard where a

plaintiff’s alleged injury is based on an increased risk of future harm that necessitates incurring

costs to prevent such harm. In Beck v. McDonald, 848 F.3d 262 (4th Cir. 2017), cert. denied,

137 S. Ct. 2307 (2017), for example, the court held that plaintiffs, whose personal information

was compromised, failed to show “certainly impending” injury based on chances of future
identity theft because “a threatened event can be ‘reasonabl[y] likel[y]’ to occur but still be

insufficiently ‘imminent’ to constitute an injury-in-fact.” Id. at 275; see also id. at 272 (the

requirement of “certainly impending” injury is “well-established” and “hardly novel”). The

court then commented that it could “also” find standing based on a “‘substantial risk’ that the

harm will occur, which in turn may prompt a party to reasonably incur costs to mitigate or avoid

that harm,” but it ultimately found that the plaintiffs fell short of their burden. Id. at 275

(emphasis added). Because this case involves neither a threat of enforcement action nor any

allegation that Plaintiffs have incurred costs to mitigate any alleged violation, Plaintiffs may not

avail themselves of the “substantial risk” standard.

       B.      Plaintiffs’ Allegations of Injury Do Not Satisfy the Competitor Standing
               Doctrine.
       Apparently recognizing that they are otherwise unable to establish Article III standing,

Plaintiffs fall back on the competitor standing doctrine. See Opp’n at 24–25. That doctrine,

however, is inapplicable here.

       The competitor standing doctrine applies only in the narrow circumstances where, given

the relevant market characteristics and the nature of the competition, the challenged government

action has caused “an actual or imminent increase in competition, which increase . . . will almost

certainly cause an injury in fact” by virtue of the laws of economics. Sherley v. Sebelius, 610

F.3d 69, 73 (D.C. Cir. 2010). “The nub of the ‘competitive standing’ doctrine is that when a


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challenged agency action authorizes allegedly illegal transactions that will almost surely cause

petitioner to lose business, there is no need to wait for injury from specific transactions to claim

standing.” El Paso Nat. Gas Co. v. FERC, 50 F.3d 23, 27 (D.C. Cir. 1995) (emphasis added).

By contrast, courts routinely reject claims to competitor standing that are “conjectural” or fail to

demonstrate that an agency decision “will almost surely” cause a plaintiff competitive injury.

DEK Energy Co. v. FERC, 248 F.3d 1192, 1196 (D.C. Cir. 2001); see also United Transp. Union

v. ICC, 891 F.2d 908, 913 n.7 (D.C. Cir. 1989) (in assessing competitor standing, court need not

“accept allegations founded solely on the complainant’s speculation”). 3

       Here, Plaintiffs cannot satisfy “the basic requirement common to all [competitor

standing] cases,” Sherley, 610 F.3d at 73, namely that the President’s ownership interest in the

Trump International Hotel would cause an increase in competition such that the laws of

economics allow an inference of almost certain injury to Plaintiffs’ proprietary interests. As the

President’s opening brief explained, competition in the hospitality industry depends on a large

number of variables, as well as the independent choices of third parties not before the Court.

Mot. at 25–26. No law of economics suggests that in markets so diffuse and competitive—there

are approximately 130 hotels in Washington, D.C., and nearly 700 hotels in the Greater

Washington, D.C., metropolitan area—any particular hospitality establishment or event venue in

D.C. or Maryland would lose business to the Trump International Hotel, its one restaurant, and

one bar. See Delta Air Lines, Inc. v. Export-Import Bank, 85 F. Supp. 3d 250, 266 (D.D.C. 2015)

(no competitor standing where “numerous factual questions remain unresolved and undeveloped,


3
  Accordingly, the doctrine is applicable most often in contexts where government regulators
alter market competition either by increasing or decreasing competition. See, e.g., Investment
Co. Inst. v. Camp, 401 U.S. 617, 620 (1971) (investment company plaintiffs had standing to
challenge rule permitting banks to operate collective investment funds); Sea-Land Serv., Inc. v.
Dole, 723 F.2d 975, 977 (D.C. Cir. 1983) (operator of vessel had standing to challenge
government approval of another company to operate in same routes in which the plaintiff already
operated); Sherley, 610 F.3d at 72 (grant applicants competing for the same, limited pool of grant
money have standing when the challenged government action increased the number of
applicants). This is so because market manipulation by a government regulator often has a direct
and predictable impact on the market; in fact, that is often the intent of such regulation.

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many of which are necessary for determining if and how Plaintiffs might suffer an injury-in-fact

from the [agency’s] allegedly wrongful conduct”).

       Plaintiffs, however, characterize the competitor standing doctrine in terms so permissive

that a mere showing of competitor status and some “competitive advantage” to the defendant

would suffice. Opp’n at 4, 21. According to Plaintiffs, because the President’s establishments

necessarily have a competitive advantage by virtue of his ownership interest, 4 Plaintiffs need

only show that certain D.C. and Maryland establishments are competitors with the Trump

International Hotel (and its one restaurant and one bar). Id. Their declarations thus seek to

establish the existence of such competition. Decl. of Rachel J. Roginsky, ISHC, ¶¶ 23–56, ECF

No. 47; Decl. of Christopher C. Muller, Ph.D., ¶¶ 23–123, ECF No. 48. But adopting Plaintiffs’

skewed interpretation of competitor standing would allow the exception to swallow the rule—

that an injury-in-fact must be non-speculative and certainly impending to support Article III

standing. Indeed, the cases Plaintiffs cite refute their skewed interpretation of the doctrine.

       As an initial matter, the only Fourth Circuit case Plaintiffs cite, Price v. City of Charlotte,

93 F.3d 1241 (4th Cir. 1996), is not a competitor standing decision. Price arose in the distinct

context of an equal protection challenge, where the government’s discriminatory treatment of the

plaintiff is itself the cognizable injury. See id. at 1248 (plaintiffs’ injury premised on the “denial

of equal protection” under the law, not the fact that they were denied promotions). The same is

true with Northeastern Florida Chapter of the Associated General Contractors of America v.

City of Jacksonville, 508 U.S. 656 (1993), which Plaintiffs cite alongside Price, see Opp’n at 24.

508 U.S. at 666 (equal protection challenge to ordinance according preferential treatment to

certain minority-owned businesses in awarding city contracts). Unlike those cases, Plaintiffs’

asserted injuries do not arise from the government’s alleged discriminatory treatment of parties.




4
  Plaintiffs seem to suggest that the President has conceded the facts alleged in the Complaint.
Opp’n at 41. That is not so. The President’s Motion merely applies the standard applicable at
this stage. See US Airline Pilots Ass’n v. Awappa, LLC, 615 F.3d 312, 317 (4th Cir. 2010).

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Rather, they stem from the alleged potential outcome of independent choices by third-party

government consumers in a market where the Trump International Hotel is a participant.

       Even the out-of-circuit competitor standing cases Plaintiffs cite confirm that Plaintiffs

have no competitor standing. Adams v. Watson, 10 F.3d 915 (1st Cir. 1993), was a challenge

brought by out-of-state dairy farmers to a Massachusetts milk pricing order that required

Massachusetts dairy distributors to pay a fee into a fund from which only Massachusetts dairy

farmers could receive distributions. Id. at 916–17, 919–20. The court held that this kind of

“competitive advantage bestowed on [plaintiff’s] direct competitor[s]” by the government
rendered it “obvious” that injury would result because it “plainly disadvantages the plaintiff’s

competitive position in the relevant marketplace.” Id. at 922. The court distinguished the case

from a situation where “injury and cause are not obvious,” in which case “the plaintiff must

plead their existence in his complaint with a fair degree of specificity” and “must demonstrate a

realistic danger” of sustaining injury. The court explained that this could be shown through

application of “standard principles of supply and demand.” Id. at 922–23.

       The facts presented here are readily distinguishable. Consideration of the basic laws of

supply and demand enabled the court in Adams to view the government’s monetary subsidization

of one set of competitors as a market distortion that inevitably would lead to competitive

advantage for one group of competitors and economic injury to the other. But there is no such

connection here between the conduct complained of and the claimed economic injury to

hospitality establishments in D.C. and Maryland. Instead, Plaintiffs hypothesize an injury based

on the possible behavior of unknown third-party consumers and their subjective views about the

President, including the desirability of patronizing his establishments in a metropolitan market

containing hundreds of other similar establishments.

       The inapplicability of the competitor standing doctrine when the claimed injury depends

on the subjective views of third parties is illustrated by State National Bank of Big Spring v. Lew,

795 F.3d 48 (D.C. Cir. 2015). There, the plaintiff challenged a regulatory designation of its

competitor financial institution as “too big to fail” on the basis that such a “reputational subsidy”

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allowed the competitor to raise money at lower costs than it otherwise could have. See id. at 54,

55. The court found no competitor standing, however, because the link between the alleged

reputational benefit to the competitor and any harm to the plaintiff was “simply too attenuated

and speculative to show the causation necessary to support standing.” Id. at 55. Likewise here,

no Article III injury may be presumed because the claimed injury depends on speculation about

third parties’ perceptions of the value of patronizing the President’s businesses. Cf. New World

Radio, Inc. v. FCC, 294 F.3d 164, 172 (D.C. Cir. 2002) (alleged injury dependent on the

“independent actions of third parties” is unlike that in competitor standing cases where the court
may “simply acknowledge a chain of causation firmly rooted in the basic law of economics”).

       Plaintiffs also cite other authority falling into categories entirely distinct from this case.

One group of cases involves government regulation permitting or encouraging new entrants to

the market—i.e., increased competition caused by the government acting as a regulator. 5 But

here Plaintiffs do not allege that the government has allowed new entrants. Another case cited

by Plaintiffs involves past injury, which presents a very different situation from competitor

standing cases that infer future injury solely on the basis of market conditions and laws of supply

and demand. See NicSand, Inc. v. 3M Co., 507 F.3d 442, 448–49 (6th Cir. 2007) (plaintiff “was

injured” when it lost various accounts to the defendant). Still another case involves claims

arising under the Lanham Act. See TrafficSchool.com, Inc. v. Edriver Inc., 653 F.3d 820 (9th

Cir. 2011). That Act protects persons engaged in commerce against unfair competition and

authorizes anyone believing that he or she is “likely” to be injured to bring suit. See 15 U.S.C.

§ 1125(a). “Congress has the power to define injuries and articulate chains of causation that will

give rise to a case or controversy where none existed before.” Spokeo, Inc. v. Robins, 136 S. Ct.



5
  See Cooper v. Tex. Alcoholic Beverage Comm’n, 820 F.3d 730, 737–38 (5th Cir. 2016)
(removal of a state residency restriction on mixed-beverage permits), cert. denied, 137 S. Ct. 494
(2016); Int’l Bhd. of Teamsters v. U.S. Dep’t of Transp., 724 F.3d 206, 211–12 (D.C. Cir. 2013)
(“pilot program allow[ed] Mexico-domiciled trucks to compete with members of” plaintiffs);
Sherley, 610 F.3d at 73.

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1540, 1549 (2016). Here, Plaintiffs invoke no statute that might relax their burden to meet the

injury-in-fact requirement.

       In sum, Plaintiffs have not established that they have competitor standing and because

they otherwise fail to establish standing on any other basis, see Mot. at 15–16, their claims

should be dismissed on standing grounds alone.

II.    PLAINTIFFS HAVE NO CAUSE OF ACTION UNDER THE EMOLUMENTS
       CLAUSES AND EQUITY REQUIRES DISMISSAL.
       The President’s Motion also demonstrated that Plaintiffs lack a cause of action under the

Emoluments Clauses and that equity counsels against this Court granting relief in this case. See
Mot. at 26–29. In particular, the President showed that the paradigmatic situation where courts

have recognized implied equitable claims against the Government is when a plaintiff

preemptively asserts a defense to a potential enforcement action. Plaintiffs’ only response is that

the Supreme Court has never limited equitable causes of action to such circumstances, Opp’n at

51, a proposition not in dispute. But as previously explained, equitable relief is not granted as a

matter of right, and equity indicates that this is not a proper case for such relief because, among

other things, the Emoluments Clauses were not meant to protect against commercial competition

or unequal treatment among the States. See Mot. at 26–29. Rather, the Clauses were intended to

guard generally against the corruption of, and foreign influence on, federal officials and to ensure
the independence of the President.

       Plaintiffs also rely on cases involving structural constitutional violations such as Bond v.

United States, 564 U.S. 211, 223 (2011), and LaRoque v. Holder, 650 F.3d 777, 793 (D.C. Cir.

2011), where Congress allegedly exceeded the limits on its legislative power in a manner that

exposed the plaintiffs to injurious regulation. 6 But unlike the criminal defendant in Bond, who

6
  Indeed, except for one case, all of the authority on which Plaintiffs rely for this argument
involved a plaintiff being subjected to the injurious effects of allegedly unconstitutional
regulation. See Opp’n at 52–53; see Am. Ins. Ass’n v. Garamendi, 539 U.S. 396, 401, 412 (2003)
(state statute regulating plaintiff insurers); Printz v. United States, 521 U.S. 898, 902 (1997)
(federal statute commanding action by plaintiff law enforcement official); South-Central Timber
Dev., Inc. v. Wunnicke, 467 U.S. 82, 84 (1984) (state statute regulating plaintiff’s timber
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was prosecuted under a statute allegedly enacted in contravention of the Tenth Amendment, and

unlike the political candidate in LaRoque, who was forced to run under a more burdensome

electoral regime, Plaintiffs are not exposed to regulation or enforcement action by the President’s

alleged receipt of prohibited emoluments. Those cases are inapposite.

       Plaintiffs also imply that the zone-of-interests test no longer applies after the Supreme

Court’s decision in Lexmark International, Inc. v. Static Control Components, Inc., 134 S. Ct.

1377 (2014). But the Lexmark Court did not abrogate the zone-of-interests test; it merely

explained that the test is not an issue of prudential standing but a way “to determine, using
traditional tools of statutory interpretation, whether a legislatively conferred cause of action

encompasses a particular plaintiff’s claim.” Id. at 1387. The Court noted that a statute ordinarily

provides a cause of action “only to plaintiffs whose interests fall within the zone of interests

protected by the law invoked.” Id. at 1388. Likewise, a plaintiff whose alleged interests fall

outside the zone of interests of a constitutional provision ordinarily lack a right to sue, and

Lexmark does not purport to overrule prior Supreme Court precedent so holding. See Mot. at 28;

see, e.g., Bosley v. Baltimore Cty., 804 F. Supp. 744, 751 (D. Md. 1992) (procedural due

process), aff’d by 986 F.2d 1412 (4th Cir. 1993). Indeed, even if Lexmark were in tension with

that prior precedent, the Supreme Court has repeatedly admonished that lower courts must

continue to follow its precedent unless and until overturned. See Agostini v. Felton, 521 U.S.

203, 237 (1997). It is unsurprising then that post-Lexmark, courts continue to apply the zone-of-

interests test to constitutional claims. See, e.g., Maher Terminals, LLC v. Port Auth. of N.Y. &

N.J., 805 F.3d 98, 105, 110 (3d Cir. 2015) (affirming dismissal of Tonnage Clause claim); Coal.

exports); INS v. Chadha, 462 U.S. 919, 928 (1983) (congressional action pursuant to which
plaintiff was to be deported); U.S. Steel Corp. v. Multistate Tax Comm’n, 434 U.S. 452, 458
(1978) (challenge to multistate governmental entity’s authority to audit plaintiff taxpayers); Hill
v. Wallace, 259 U.S. 44, 45 (1992) (federal statute imposing a tax on plaintiff’s trade in
commodity). The only exception, Gilman v. Philadelphia, 70 U.S. 713 (1865), does not even
involve an equitable cause of action. That case concerned a nuisance claim—a common law
tort—and a request for an injunction to prevent the irreparable harm caused by the nuisance. Id.
at 719–20, 722–24. The Court ultimately concluded that the complaint failed to state a
claim. Id. at 732.

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for Competitive Elec., Dynegy Inc. v. Zibelman, ---F. Supp. 3d---, No. 16-cv-8164, 2017 WL

3172866, at *19–*21 (S.D.N.Y. July 25, 2017) (dismissing dormant Commerce Clause claim),

appeal filed Aug. 25, 2017. 7

III.   PLAINTIFFS HAVE FAILED TO STATE A CLAIM.

       A.      Plaintiffs’ Interpretation of the Text of the Emoluments Clauses is
               Overbroad and Unreasonable.
       The President’s opening brief showed that, in light of the common usage in the founding

era and thereafter, the term “Emolument” in the Emoluments Clauses refers to a “profit arising

from an office or employ”—essentially, profit from labor. See Mot. at 30–38. That definition

fits most appropriately within the context of the Foreign Emoluments Clause and is harmonious

with the other prohibited categories in the Clause (present, office, and title), all of which are

things conferred or bestowed on an officeholder personally. Moreover, this reading avoids

rendering any portion of the Clause superfluous, whereas Plaintiffs’ definitions of “present” and

“Emolument” contain substantial redundancies, as Plaintiffs themselves recognize, see Opp’n at

34 n.22. 8 Applying the same definition of “Emolument” to the Domestic Emoluments Clause
likewise indicates that benefits from a federal or state instrumentality are prohibited only when

they are in exchange for the President’s service as President. The Complaint does not plausibly

allege any violations under these interpretations, and Plaintiffs’ rejoinders are unpersuasive.


7
  Finally, Plaintiffs argue that their claims should not be dismissed pursuant to the political
question doctrine. Opp’n at 54–55. The President, however, did not invoke the doctrine; he
merely argued that Congress’s consent power under the Foreign Emoluments Clause and the
inherently political nature of the judgments associated with the Clause are another factor
counseling against the Court inferring a cause of action in equity here. See Mot. at 29.
8
  Plaintiffs err in contending that profits arising from the commercial transactions alleged in the
complaint may also constitute “presents” under the Foreign Emoluments Clause. Opp’n at 40
n.27. Not only does that interpretation render the terms “present” and “Emolument” redundant,
but it defies a common sense understanding of “present.” As the President’s Motion showed, a
prohibited “present” is “something bestowed on another without price or exchange,” and cannot
naturally be read to include benefits arising from commercial transactions or accruing by
operation of law. See Mot. at 37–38. Thus, for example, trademarks received by an official from
a foreign government would not be “presents.”

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       First, Plaintiffs argue that their proposed definition of “Emolument” as “anything of

value” comports with the original public meaning of the Clauses. They cite founding-era

documents where the term was used in accordance with that definition, see Opp’n at 30, 31, 33,

and rely on an article that found that the President’s proposed definition appears in “only 8%” of

the 40 dictionaries catalogued for the period of 1604 to 1806. Id. at 32 (citing John Mikhail, The

Definition of “Emolument” in English Language and Legal Dictionaries, 1523-1806, at 8 (July

9, 2017), https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2995693). But mechanical

counting of dictionaries is unpersuasive. It is a fundamental canon of construction that a term
“cannot be construed in a vacuum” and “must be read in [its] context.” Davis v. Mich. Dep’t of

Treasury, 489 U.S. 803, 809 (1989); King v. Burwell, 135 S. Ct. 2480, 2489 (2015) (“oftentimes

the meaning—or ambiguity—of certain words or phrases may only become evident when placed

in context”) (citation omitted). Here, even Plaintiffs do not dispute that the President’s proposed

definition existed during the founding era. Thus, the relevant question is not how many

dictionaries provide one of the two available definitions, but rather which of those definitions

should be applied in the context of a constitutional restriction on federal officeholders. As the

President’s Motion demonstrated, see Mot. at 30–50, the context provided by the Constitution—

read in concert with the history of the Emoluments Clauses and founding-era practices—shows

that Plaintiffs’ reading of the term “Emolument” to encompass “anything of value” is meritless.

       In any event, Plaintiffs’ reliance on the Mikhail article is misplaced given its limitations

for the interpretive task here. The article’s conclusions have been criticized as “based on

inaccurate assumptions about [founding-era] dictionaries and about the semantic inquiry at

hand.” 9 First, the article fails to account for context or for frequency of usage. As a more

thorough treatment found, in instances where “the recipient of the emolument is an officer,

regardless of the corpus [of documents analyzed], the narrower sense of emolument is the one


9
 See James Phillips & Sara White, The Meaning of Emolument(s) in 18th-Century American
English: A Corpus Linguistic Analysis, 59 So. Texas L. Rev. __ (Forthcoming 2018),
https://ssrn.com/abstract=3036938, at 13.

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overwhelmingly used.” 10 Second, the Mikhail article accords an ahistorical precision to

dictionary entries. Lexicographers of the time “could not and did not engage in a systematic

attempt to discern all of the meanings of words.” 11 Thus, founding-era dictionaries may not have

recorded all meanings of the words listed, but rather, may have simply chosen to include the

broadest meaning that would encompass other meanings. 12 Similarly, dictionaries may have

copied one another, rendering a simple tallying of definitions across sources misleading. 13 And,

in any event, founding-era dictionaries also were generally more prescriptive about how

language should be used, rather than descriptive of how it was actually used at the time. 14

       Moreover, putting aside the article’s limited utility in this context, the Mikhail article’s

underlying sources ultimately support the President’s position. The dictionaries cited

demonstrate that the President’s definition is closely related to the etymology of emolument,

which is profit from labor, or more specifically, from grinding corn. As confirmed by these

dictionaries, the term “emolument” derives from the Latin “emolumentum,” see Mikhail, supra,

at A-6–A-9, nos. 4, 11, 15, 21, 23, 35, which was the combination of “mola,” meaning “a mill,”

and “emole,” meaning “to grind thoroughly,” id. nos. 15, 35. See also Mot. at 35 & n.28 (citing

etymological dictionaries). Excerpts from six of the dictionaries cited by Mikhail thus include

variations of the definition of “profit gotten properly by grist; hence, by any labor and cost,”

Mikhail, supra, no. 15; see also id. nos. 5, 7, 8, 11, 15, 35. By focusing narrowly on dictionaries

that define “emolument” as “profit arising from office or employ,” Plaintiffs ignore these




10
   Id. at 38.
11
   See Gregory E. Maggs, A Concise Guide to Using Dictionaries from the Founding Era to
Determine the Original Meaning of the Constitution, 82 Geo. Wash. L. Rev. 358, 371 (2014).
12
   Id.
13
   See, e.g., Allen Reddick, The Making of Johnson’s Dictionary, 1746–1773, at 11 (1996);
Maggs, supra note 8, at 382.
14
   Samuel A. Thumma & Jeffrey L. Kirchmeier, The Lexicon Has Become a Fortress: The
United States Supreme Court’s Use of Dictionaries, 47 Buff. L. Rev. 227, 242 (1999).

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etymologically rooted definitions and thus significantly understate the percentage of dictionaries

having a definition supporting the President’s position.

        Plaintiffs also argue that the Foreign Emoluments Clause’s prohibition on “any”

“Emolument” “of any kind whatever” compels their broader definition of “Emolument.” Opp’n

at 33–34. As the President showed in his opening brief, however, the phrase “of any kind

whatever” merely emphasizes the Clause’s reach—every kind of emolument, present, office, or

title—and is not a basis to choose which definition of emolument most appropriately applies.

Mot. at 50–51. Indeed, founding-era government officials were compensated in a number of
different ways, including through fees for services rendered; commissions; shares of fines,

penalties, and forfeitures; the usage of horses; pay for servants; and, in some instances, salaries.

Id. at 31–32. The phrase “of any kind whatever” ensures that every type of the identified

compensation are captured by the Clause. As for the Clause’s first use of the word “any”

(“any . . . Emolument”), it is meant to be numeric—no prohibited emoluments may be received

by a covered official without the consent of Congress.

        Plaintiffs next argue that even if the President’s proposed definition of “Emolument”

were correct, there would be no legitimate basis to limit “Emoluments” to benefits received for

services rendered. See Opp’n at 41. As discussed above, however, the provision of personal

service or labor is rooted in the very origin of the word “emolument,” given its etymology

relating to profits arising from labor. The President’s opening brief cited historical sources and

legal interpretations for the proposition that “emolument” refers to “every species of

compensation or pecuniary profit derived from a discharge of the duties of the office,” Mot. at 31

(citation omitted), and relates “to commissions and employments; intimating, not only the

salaries, but, all other perquisites,” id. at 34 (citation omitted).

        Separately, Plaintiffs argue that the phrase “any other Emolument” in the Domestic

Emoluments Clause indicates that the Clause should be read as broadly as possible because it

was intended to eliminate any pecuniary inducement operating on the President. Opp’n at 35.

The Clause provides that the President shall receive “for his Services” a fixed “Compensation”

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“during the Period for which he shall have been elected” and that “he shall not receive within

that Period any other Emolument from the United States, or any of them.” U.S. Const. art. II,

§ 1, cl. 7 (emphasis added). The term “Emolument” in this Clause refers only to compensation

and other benefits for his services as President. Mot. at 33. Thus, the reference to “any other

Emolument” further demonstrates that “Compensation” is a type of “Emolument” and that the

two terms should be read in concert—meaning that the President may not receive additional

benefits as compensation for his services while in office. Moreover, the phrase “for his

Services” clearly qualifies both “Compensation” and “any other Emolument.” As Plaintiffs
themselves acknowledge, constitutional interpretation should begin with text, see Opp’n at 31

(citing City of Boerne v. Flores, 521 U.S. 507, 519 (1997)), yet they ignore the very textual cues

that provide meaning to the term “Emolument.”

       Equally unavailing is Plaintiffs’ argument that the Incompatibility Clause, the only other

constitutional provision that also contains the term “Emolument,” bolsters their reading of the

Foreign Emoluments Clause. The Incompatibility Clause provides that no member of Congress

“shall, during the Time for which he was elected, be appointed to any civil Office . . . the

Emoluments whereof shall have been encreased during such time.” U.S. Const. art. I, § 6, cl. 2.

Plaintiffs argue that by using a “restrictive modifier”—i.e., “the Emoluments whereof”—the

Incompatibility Clause highlights the expansiveness of the Foreign Emoluments Clause, which

includes no such office-related limitation. Opp’n at 41 n.28. Contrary to Plaintiffs’ argument,

the Incompatibility Clause actually underscores that “Emolument” refers to compensation for an

officeholder’s service. The Foreign Emoluments Clause does not reference any specific office

because it has a broader reach than the Incompatibility Clause—it regulates not only

compensation or benefits arising from holding federal office but also any employment-like

relationship between a foreign government and a covered official. And it makes littles sense that

the term “Emolument” would have different meanings throughout the Constitution, when all

three clauses containing the term are tied to holding office and regulate the conduct of

officeholders.

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        B.      The Purposes of the Emoluments Clauses Do Not Compel Plaintiffs’ Broad
                Reading of the Clauses.
        Plaintiffs further argue that to effectuate the Emoluments Clauses’ purposes of protecting

against undue influence by foreign and domestic governments and ensuring Presidential

independence, the Clauses must be read as broadly as possible. The President’s interpretation,

they contend, would “obliterate[]” the Clauses’ purposes. Opp’n at 42–43. Not so. To begin,

“no law pursues its purpose at all costs, and . . . the textual limitations upon a law’s scope are no

less a part of its ‘purpose’ than its substantive authorizations.” Kucana v. Holder, 558 U.S. 233,

252 (2010). Accordingly, the fact that the Framers were concerned about undue influence and

Presidential independence does not compel the conclusion that the Emoluments Clauses must be

read so expansively as to include private business pursuits by officeholders. Indeed, while the

Framers weighed concerns that public officials would be influenced by pecuniary inducements, it

was common at the time for federal officials to have private business pursuits. Yet the Framers

said nothing about requiring officials to divest their private commercial interests in order to

assume federal office. See Mot. at 27–28. Moreover, the President’s reading serves the Clauses’

purposes of preventing foreign influence and ensuring Presidential independence by focusing on

whether the President’s personal service or official conduct is actually at issue in a transaction.

        Nor is Plaintiffs’ would-be silver bullet—that the President’s interpretation permits him

to profit from foreign and domestic government transactions—persuasive. Opp’n at 42–43. The

Emoluments Clauses are not comprehensive conflict-of-interest provisions covering every

conceivable type of activity that may raise an appearance of impropriety. The Clauses only

identify specific categories of benefits that officeholders may not accept, each of which has

different characteristics.

        Plaintiffs also posit that, under the President’s reading, he would be prohibited from

personally providing hospitality services to a foreign diplomat (e.g., serving a drink) but,

counterintuitively, would be permitted to accept a check made out to the Hotel for a substantial

sum of money for a block of rooms. See Opp’n at 43. But the Foreign Emoluments Clause is


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directed at profits arising from the provision of service by the officeholder pursuant to his office

or employment-like relationship with the foreign government. It is that sort of relationship that

puts an officeholder in closest contact with a foreign government, thereby giving rise to the

greatest potential risk of corruption. Simply owning interests in a hospitality establishment does

not create that kind of relationship. In any event, the President’s opening brief recognized that

payments to the President’s businesses may raise concerns under the Clauses if the business is

merely being used as a conduit to receive benefits in exchange for the President’s service. The

Complaint contains no plausible allegations to that effect.

       C.      The President’s Position is not Inconsistent with Prior Interpretations of the
               Emoluments Clauses.
       Plaintiffs also cite opinions by the Office of Legal Counsel (“OLC”) and Comptroller

General for the proposition that any profit accepted from a foreign or domestic government is

prohibited by the Clauses. Opp’n at 36–38. As fully demonstrated in his opening Motion,

however, the President’s position is not inconsistent with the conclusions of published OLC and

Comptroller General opinions. Mot. at 47–49. Notably, while those opinions do not specifically

require an employment-like relationship in assessing particular situations under the Clauses, the

facts underlying those opinions already involved such an employment relationship. For example,

two of the OLC opinions cited by Plaintiffs involved personal service rendered by the federal
official to the foreign government in his private capacity. 15 OLC’s conclusion that the
arrangement was prohibited is not inconsistent with the President’s view of the Clause.


15
   See Application of the Emoluments Clause of the Constitution & the Foreign Gifts &
Decorations Act, 6 Op. O.L.C. 156, 156–57 (1982) (a Nuclear Regulatory Commission employee
could not “on his leave time” work for an American consulting firm on a project for the Mexican
government where the firm secured the contract based solely on the employee’s expertise and
would pay the employee using foreign funds); see also Memorandum from H. Gerald Staub,
Office of Chief Counsel, NASA, from Samuel A. Alito, Jr., Deputy Assistant Attorney General,
O.L.C., Re: Emoluments Clause Questions raised by NASA Scientist’s Proposed Consulting
Arrangement with the University of New South Wales, at 1 (May 23, 1986), available at
https://www.politico.com/f/?id=00000158-b547-db1e-a1f9-ff7f60920001 (Clause could apply to
NASA scientist accepting fee for performing consulting services for a foreign university).

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       Plaintiffs are similarly mistaken in suggesting that the President’s interpretation is in

tension with OLC and Comptroller General opinions holding that the use of a corporate entity to

pass through foreign benefits would not shield an officeholder from Foreign Emoluments Clause

violations. Opp’n at 48. That is incorrect. Under the President’s view, the Clause would indeed

prohibit an arrangement whereby the President provided services in his official capacity or in an

employee-like capacity to a foreign government in exchange for payments, even if such

payments were passed through a company the President owned. This position is not inconsistent

with the Comptroller General and OLC opinions cited by Plaintiffs (see id. at 36, 48), each of
which involved the provision of service by an officeholder, with the question being whether a

foreign government should be deemed the source of payment for such service despite the

existence of corporate intermediaries. See, e.g., Matter of Lieutenant Colonel Marvin S. Shaffer,

62 Comp. Gen. 432, 434 (June 2, 1983) (retired military officer could be employed by domestic

corporation, whose controlling interest was held by a foreign-government-controlled corporation,

because the domestic corporation had a separate identity and was not an agent of the foreign

government); Retired Marine Corps Officers, B-217096, 1985 WL 52377, at *1 (Comp. Gen.

Mar. 11, 1985) (retired military officer employed by an incorporated law firm could not perform

legal service for a foreign government because “an attorney’s professional relationship with his

clients remains unchanged notwithstanding the existence of a professional corporation”). 16

       Plaintiffs also cite Applicability of the Emoluments Clause to Non-Government Members

of ACUS, 17 Op. O.L.C. 114, 119 (1993), where OLC determined that members of the

Administrative Conference of the United States (“ACUS”) could not receive a distribution from


16
   Plaintiffs incorrectly assert that the President’s interpretation requires a finding that an
officeholder is “subjected to improper foreign influence.” Opp’n at 47. The President’s
interpretation—like that of the Plaintiffs—requires a blanket prohibition without any factual
assessment of actual foreign influence. Cf. Applicability of Emoluments Clause to Proposed
Serv. of Gov’t Emp. on Comm’n of Int’l Historians, 11 Op. O.L.C. 89, 90–91 & n.5 (1987)
(official could not obtain an “office” from a foreign government even though he would not
necessarily be subject to improper influence).


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their law partnerships that included revenues from foreign governments. Plaintiffs contend that

this opinion shows that no personal contact or relationship with a foreign government is required

for a benefit to be a prohibited emolument. Opp’n at 36, 46–47. But that opinion concerned

services provided by an ACUS member’s law partners, and situations involving law partners and

their profit sharing are unique and distinct from the financial interests at issue in this case. As

previously explained, “a firm of lawyers is essentially one lawyer for purposes of the rules

governing loyalty to the client” and “each lawyer is vicariously bound by the obligation of

loyalty owed by each lawyer with whom the lawyer is associated.” Mot. at 49–50 n.66 (citing
Model Rules of Prof’l Conduct r. 1.10 cmt. (Am. Bar Ass’n 1983); Restatement (Third) of the

Law Governing Lawyers § 123, cmt. B)). Given that the officeholder is bound by the same duty

of loyalty to the client as his law partners, OLC’s conclusion that he may not share his partners’

profits from a foreign government is not inconsistent with the President’s interpretation of the

Foreign Emoluments Clause. Again, the President does not contend that payments made through

a corporate structure could never constitute prohibited emoluments.

       Plaintiffs further argue that OLC’s opinion concerning President Ronald Reagan’s state

retirement benefits implicitly rejects the President position. According to Plaintiffs, although

received by President Reagan while he was in office, the retirement benefits did not run afoul of

the Domestic Emoluments Clause because they vested before he was elected. Opp’n at 49. But

there is no doubt that the retirement benefits fell within Plaintiffs’ “anything of value” definition

of an “Emolument.” Moreover, in addition to noting that the retirement benefits were previously

earned and vested, OLC also stressed that these were benefits “for which [the President] no

longer ha[d] to perform any services.” 5 O.L.C. Op. 187, 190 (1981). Thus, OLC’s opinion

does not undercut the President’s interpretation of the Domestic Emoluments Clause.

       Lastly, Plaintiffs cite a report by a House ethics office finding that the delegate from the

territory of Guam may have violated the Foreign Emoluments Clause by renting a house to a




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foreign mission. 17 Opp’n at 37. The report purports to apply the House Ethics Manual’s

“unambiguous[]” definition of “Emolument” as “any ‘profit, gain, or compensation for services

rendered,’” Report at 12 (emphasis added)—a definition consistent with the President’s

interpretation. It also purports to rely on OLC and Comptroller General opinions, see id. at 12–

13, none of which is inconsistent with the President’s position because all involved employment-

like relationships with foreign governments. See Mot. at 48–49. 18

       D.      Historical Background Refutes Plaintiffs’ Interpretation of the Clauses, and
               Absurd Results Would Flow From Their Interpretation.
       The President’s Motion also showed that his interpretation is consistent with the practices

of early Presidents and that such practices contradict Plaintiffs’ interpretation. Mot. at 41–42.

For example, the Motion put forth evidence of (1) President George Washington purchasing

public land from the Federal Government as a private citizen without any concerns about

violating the Domestic Emoluments Clause, and (2) early Presidents engaging in commerce and

exporting their farm products overseas without any emoluments concerns.

       Plaintiffs’ responses are unpersuasive. First, Plaintiffs argue that President Washington’s

business transaction with the Federal Government was distinguishable because it was a public

sale; Washington indicated that he “had no desire to ‘stand on a different footing from every

other purchaser’”; and he was supposedly “‘ready to relinquish’ the property if necessary”

(although he did not say so). See Opp’n at 45 (citing Letter from George Washington to the

Commissioners for the District of Columbia (Mar. 14, 1794), http://founders.archives.gov/

documents /Washington/05-15-02-0289). But Plaintiffs do not explain why these factors would

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   Office of Congressional Ethics, U.S. House of Representative, Review No. 17-1147, available
at https://oce.house.gov/sites/congressionalethics.house.gov/files/migrated/wp-
content/uploads/2017/09/Referral-OCE-Rev.-17-1147-Bordallo_FINAL-FOR-REFERRAL.pdf.
18
   See Report at 12–13 (citing Applicability of Emoluments Clause to Proposed Service of
Government Employee on Commission of International Historians, 11 Op. O.L.C. at 90;
Applicability of Emoluments Clause to Emp’t of Gov’t Emps. by Foreign Pub. Univs., 18 Op.
O.L.C. 13, 18 (1994); Application of Emoluments Clause of the Constitution and the Foreign
Gifts and Decorations Act, 6 Op. O.L.C. 156 (1982); To the Sec’y of the Air Force, 49 Comp.
Gen. 819, 819 (1970)).

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exempt Washington’s transactions from the broad scope of the Domestic Emoluments Clause as

they interpret it, which permits no exceptions. In fact, Plaintiffs’ interpretation of the term

“Emolument” is directly undermined by Washington’s conduct. President Washington’s actions

have been accorded great weight in constitutional interpretation, see Mot. at 44, and the Supreme

Court has also taught that “significant weight” must be placed on “historical practice,” NLRB v.

Noel Canning, 134 S. Ct. 2550, 2559 (2014), including on “contemporaneous practice by the

Founders themselves,” Mistretta v. United States, 488 U.S. 361, 399 (1989).

       Plaintiffs also argue that the President has not put forth evidence clearly indicating that
the early Presidents actually sold their farm products to foreign or domestic governments. Opp’n

at 45. But while the extant farm records of those early Presidents are limited and inconclusive on

the question, there is no question that private business pursuits by federal officials, including by

early Presidents, were common at the Nation’s founding. It is reasonable to infer that at least

some of their transactions may have been with government actors, including foreign state-

chartered trading companies. Given this possibility, it is telling that there is no historical record

of any concerns being raised about possible emoluments violations by Presidents if they were to

transact business with foreign or domestic governments.

       That the Clauses were not intended to prohibit such transactions is further confirmed by

the proposed 1810 constitutional amendment, which would have extended the prohibitions of the

Foreign Emoluments Clause to all citizens. If Plaintiffs’ definition of “Emolument” were

correct, that amendment would have precluded all citizens from transacting business with any

foreign government. On this point, Plaintiffs note only that the proposed amendment ultimately

was not ratified and that the amendment would have had harsh consequences in some

circumstances under the President’s interpretation as well. Opp’n at 45–46. But the proposed

amendment enjoyed sweeping support in Congress—passing 19 to 5 in the Senate and 87 to 3 in

the House—and 12 states ratified the amendment, only 2 states short of ultimate ratification.

Mot. at 45 & nn.60–61. Particularly given that extensive support, the 1810 proposed amendment



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is additional strong historical evidence that the term “Emolument” as used in the Clauses could

not have had the broad meaning Plaintiffs propose.

       The President’s Motion also showed that Plaintiffs’ definition would lead to absurd

results. Mot. at 51–52. For example, under Plaintiffs’ interpretation, the Foreign Emoluments

Clause would prohibit retired military officers from obtaining necessary permits or licenses

while living abroad and officeholders (including the President and Members of Congress) from

owning stock in companies conducting business globally. And the Domestic Emoluments

Clause would prevent Presidents from owning Treasury bonds while in office. Plaintiffs have no
meaningful response to these absurd results. As for the other absurd results discussed in the

President’s Motion, Plaintiffs’ response is to disclaim their own theory—i.e., that the Clauses

encompass “all profit and other benefits”—by arguing that benefits derived from mutual funds

and stock holdings are permissible and by invoking a “functionalist” and “pragmatic, purpose-

driven inquiry” for assessing the scope of the term “Emolument.” Opp’n at 48–49. But

Plaintiffs cannot have it both ways. Their arguments are contrary to their own sweeping

prophylactic theory that the Clauses cover “anything of value,” Compl. ¶ 24, as well as their own

insistence that the Foreign Emoluments Clause “presumptively bar[s] the acceptance of any

emolument, subject only to Congress’s ability to grant consent.” Opp’n at 33. 19

       E.      Plaintiffs Do Not State a Claim Under the President’s Interpretation.

       Finally, Plaintiffs argue that they have stated a claim even under the President’s

interpretation of the Emoluments Clauses because benefits arising from the President’s business

interests would be benefits arising from “employ.” See Opp’n at 41–44. But as already

explained, the prohibited benefit must arise in connection with the President’s service as

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  In attempting to explain the inconsistency of their theory, Plaintiffs argue that certain benefits
may be outside of the Clause’s scope even though they are “Emoluments” within the meaning of
the Clause because some benefits should not be deemed “accepted” “from” a foreign state as
those terms are defined in the Clause. See Opp’n at 49 n.31. Even if Plaintiffs were correct,
their theory still fails to explain the many benefits routinely accepted by officeholders that are
unquestionably “accepted” “from” a foreign state, such as a retired military officer’s receipt of a
drivers’ license or a permit to conduct business in a foreign country.

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President or in an employment like relationship with a foreign government. Merely owning an

interest in a business that transacts business with a foreign government does not create this kind

of relationship. Plaintiffs also contend that the President’s interpretation of the Clauses would

cover instances where a foreign or domestic government actor unilaterally seeks to influence the

President through a commercial transaction with the President’s businesses. Opp’n at 38–39.

Not so. An “Emolument” must be tendered in exchange for personal services rendered by the

officeholder, in light of the original public meaning of the term, including its etymological roots

as compensation for labor. Mot. at 30–50. The Complaint contains no plausible allegations of
such exchange. For similar reasons, Plaintiffs’ assertion that prices at the President’s businesses

have increased, see Opp’n at 40, do not state a claim because a benefit must have more than

some connection to the President to constitute an “Emolument.”

       Plaintiffs further argue that they have stated a plausible Domestic Emoluments Clause

claim because they have alleged that GSA forgave the President’s alleged breach of the Old Post

Office Building lease due to “[his] position as president.” Id. at 39. But Plaintiffs have made no

factual allegations plausibly supporting their assertion that the GSA’s purported forgiveness was

to compensate for the President’s service as President. Although they claim that the President

increased the budget request for GSA in exchange for such a determination, see id., the budget

request actually represented a total decrease of roughly $80 million from FY 2017 to FY 2018,

which subsumed the requested increase in the significantly smaller discretionary budget

authority. 20 Plaintiffs’ new allegations regarding domestic governments that have engaged or

will engage in commercial transactions with the President’s businesses similarly do not state a

claim. Opp’n at 8, 39. The mere fact that a government consumer chooses to engage in a

commercial transaction because the other party is a business owned by the President is

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   Compare GSA, FY 2017 Congressional Justification, at GSA-8 (Feb. 9, 2016),
https://www.gsa.gov/portal/getMediaData?mediaId=123414 (FY 2017 appropriations request of
$10,540,077 thousand), with GSA, FY 2018 Congressional Justification, at GSA-10 (May 23,
2017), https://www.gsa.gov/portal/getMediaData?mediaId=162214 (FY 2018 appropriations
request of $10,459,953 thousand).

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insufficient to trigger the Domestic Emoluments Clause; there must be plausible allegations that

the President has performed an official act in exchange. There are none.

       For the foregoing reasons, Plaintiffs have failed to state any plausible claim for relief.

IV.    THE RELIEF SOUGHT BY PLAINTIFFS WOULD BE UNCONSTITUTIONAL.
       The President’s Motion also explained why this Court has no jurisdiction to issue the

requested relief under Johnson, 71 U.S. 475. Mot. at 54–56. Plaintiffs distinguish Johnson as a

political question case and suggest that it does not bar an injunction against the President in the

performance of his official duties. But that is wrong and, indeed, the Supreme Court and other

courts have cited Johnson for this exact rule. See, e.g., Newdow v. Roberts, 603 F.3d 1002, 1013

(D.C. Cir. 2010) (“courts do not have jurisdiction to enjoin” the President) (citing Johnson, 71

U.S. at 501); see also Franklin v. Massachusetts, 505 U.S. 788, 802 (1992) (plurality op.); Swan

v. Clinton, 100 F.3d 973, 977 (D.C. Cir. 1996).

       Plaintiffs also cite cases that involve only temporary injunctive relief 21 or purely

ministerial duties, see Nat’l Treasury Emps. Union v. Nixon, 492 F.2d 587, 606 (D.C. Cir. 1974).

Although Johnson did “le[ave] open the question whether the President might be subject to a

judicial injunction requiring the performance of a purely ‘ministerial’ duty,” Franklin, 505 U.S.

at 802, Plaintiffs’ request for permanent injunctive relief does not involve a purely ministerial

duty. Were Plaintiffs’ interpretation of the Emoluments Clauses correct, an injunction to require
the President’s compliance would require significant “judgment” and “planning” and would

hardly be “ministerial.” See Swan, 100 F.3d at 977. Moreover, even if Plaintiffs’ proposed

injunction would affect only ministerial duties, this Court should still exercise utmost restraint in

deciding whether to enjoin a sitting President. The Supreme Court has never done so, nor even

addressed the significant separation-of-powers concerns that would arise from such an

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   See Mackie v. Bush, 809 F. Supp. 144, 146 (D.D.C. 1993) (temporary relief to preserve the
Court’s jurisdiction or status quo with no discussion of Johnson), vacated as moot sub nom.
Mackie v. Clinton, 10 F.3d 13 (D.C. Cir. 1993); Berry v. Reagan, No. 83-3182, 1983 WL 538
(D.D.C. Nov. 14, 1983) (same); Boumediene v. Bush, 553 U.S. 723 (2008) (no injunction was
issued against the President).

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injunction. Similarly, the D.C. Circuit recognized in Swan that it had “never attempted to

exercise power to order the President to perform a ministerial duty” and that it is “painfully

obvious” why courts should be “hesitant to grant such relief”: doing so “at best creates an

unseemly appearance of constitutional tension and at worst risks a violation of the constitutional

separation of powers.” Id. at 978.

        Plaintiffs also argue that Johnson is inapplicable because Plaintiffs are not seeking to

require the President to take specified executive action. The relief requested, however,

implicates the essential concerns underlying Johnson because it would effectively impose a
condition on the President’s ability to serve as President and to perform the duties he was duly

elected to perform. This necessarily touches on core “executive and political” duties. See

Johnson, 71 U.S. at 499.

        Finally, Plaintiffs argue that Johnson’s rule is sapped of its vitality in situations where

there is no subordinate official who could be enjoined from carrying out the President’s

directive. See Opp’n at 59–60. But one of the few sources they cite, Justice Scalia’s

concurrence in Franklin, 505 U.S. 788, suggests that where there are no subordinate officials to

enjoin, a court would have no jurisdiction to issue an injunction. As Justice Scalia explained in

Franklin, “[the Court] cannot remedy appellees’ asserted injury without ordering declaratory or

injunctive relief against appellant President Bush, and since [the Court] ha[s] no power to do

that,” the “appellees’ constitutional claims should be dismissed.” Id. at 829 (Scalia, J.,

concurring). Accordingly, this Court cannot granted the requested relief here.

                                           CONCLUSION

        For the foregoing reasons and those stated in the President’s Memorandum of Law in

Support of his Motion to Dismiss, the President respectfully requests that the Court dismiss this

case for lack of subject matter jurisdiction or for failure to state a claim.




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Dated: December 1, 2017               Respectfully Submitted:


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                                 CERTIFICATE OF SERVICE

       I hereby certify that December 1, 2017, I electronically filed a copy of the foregoing.

Notice of this filing will be sent via email to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s CM/ECF System.
                                                    /s/ Jean Lin
                                                    JEAN LIN
